       In The Matter Of:
Fayetteville Public Library, et al v.
 Crawford County, Arkansas, et al




      Leta Jo Caplinger, Esq.
        December 11, 2023
        CERTIFIED COPY



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      Original File Leta Jo Caplinger, Esq..txt
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Fayetteville Public Library, et al v.               CERTIFIED COPY                                         Leta Jo Caplinger, Esq.
Crawford County, Arkansas, et al                                                                               December 11, 2023
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 1          IN THE UNITED STATES DISTRICT COURT                  1               A P P E A R A N C E S (CONTINUED)
               WESTERN DISTRICT OF ARKANSAS
 2                   FAYETTEVILLE DIVISION                       2   MR. VINCENT O. CHADICK
                                                                     Attorney at Law
 3 FAYETTEVILLE PUBLIC LIBRARY, a political                      3   Quattlebaum, Grooms & Tull, PLLC
   subdivision in the City of Fayetteville,                          4100 Corporate Center Drive, Suite 310
 4 State of Arkansas; EUREKA SPRINGS CARNEGIE                    4   Springdale, Arkansas 72762
   PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY                                               (VIA TEAMS)
 5 SYSTEM; NATE COULTER; OLIVIA FARRELL;                         5   *** For the Plaintiff, Fayetteville Public Library ***
   JENNIE KIRBY, as parent and next friend of
 6 HAYDEN KIRBY; LETA CAPLINGER; ADAM WEBB;                      6   MR. BEN SEEL
   ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR                       Attorney at Law
 7 ALL ARKANSAS LIBRARIES; PEARLS BOOKS, LLC,                    7   Democracy Forward Foundation
   d/b/a WORDSWORTH BOOKS; AMERICAN BOOKSELLERS                      P.O. Box 34554
 8 ASSOCIATION; ASSOCIATION OF AMERICAN PUBLISHERS,              8   Washington, DC 20043
   INC.; COMIC BOOK LEGAL DEFENSE FUND; FREEDOM TO                   bseel@democracyforward.org
 9 READ FOUNDATION,                                PLAINTIFFS    9                         (VIA TEAMS)
                                                                     *** For the Arkansas Library Association, Advocates for
10 vs.                                  NO. 5:23-CV-05086-TLB   10   All Arkansas Libraries and Adam Webb, in his individual
                                                                     capacity ***
11 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his               11
   official capacity as Crawford County Judge;                       MS. REBECCA HUGHES PARKER
12 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;                12   Attorney at Law
   MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA                   Dentons US, LLP
13 HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;               13   1221 Avenue of the Americas
   JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;               New York, NY 10020
14 DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,         14   rebeccahughes.parker@dentons.com
   II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.                                         (VIA TEAMS)
15 LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;         15   *** For the Plaintiffs, Pearl's Books, LLC; Wordsworth
   CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK                Community Bookstore, LLC; American Booksellers
16 GRAHAM, each and in his or her official capacity as a        16   Association; Association of American Publishers, Inc.;
   prosecuting attorney for the State of Arkansas, DEFENDANTS        Authors Guild, Inc;, comic Book Legal Defense Fund; and
17                                                              17   Freedom to Read Foundation ***
18                                                              18   MR. ORLANDO ECONOMOS
                       ORAL DEPOSITION                               Attorney at Law
19                                                              19   Democracy Forward Foundation
                               OF                                    P.O. Box 34554
20                                                              20   Washington, D.C. 20043
                    LETA JO CAPLINGER, ESQ.                          oce6@georgetown.edu
21                                                              21                         (VIA TEAMS)
                                                                     *** For the Arkansas Library Association, Advocates for
22                                                              22   Arkansas Libraries and Adam Webb, in his individual
                                                                     capacity ***
23 ***** THE ABOVE-STYLED MATTER was reported by Michelle R.    23
   Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
24 Law Firm, located at 1101 Walnut, Van Buren, Arkansas,       24
   commencing on the 11th day of December 2023, at 9:08 a.m.
25 *****                                                        25

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 1                 A P P E A R A N C E S                         1                            I N D E X
 2 MR. SAMUEL S. MCLELLAND                                       2        TOPIC                                             PAGE
   Attorney at Law
 3 PPGMR Law, PLLC                                               3   APPEARANCES                                              2-3
   201 East Markham Street, Suite 201
 4 Little Rock, Arkansas 72201                                   4   STIPULATIONS                                               5
   sam@ppgmrlaw.com
 5                                                               5   WITNESS SWORN:    Leta Jo Caplinger, Esq.                  6
   *** For Crawford County, Arkansas, and County Judge
 6     Chris Keith, in his official capacity ***                 6              Examination by Mr. McLelland                    8
 7 MR. NOAH WATSON                                               7              Examination by Mr. Watson                      46
   Senior Assistant Attorney General
 8 323 Center Street, Suite 200                                  8              Examination by Ms. Brownstein                  65
   Little Rock, Arkansas 72201
 9 Noah.Watson@ArkansasAG.gov                                    9              Examination by Mr. Adams                       68
10 *** For the State of Arkansas Prosecuting Attorneys ***      10              Examination by Ms. Parker                      71
11 MR. GENTRY C. WAHLMEIER                                      11              Further Examination by Mr. McLelland       71,80
   Attorney at Law
12 Wahlmeier Law Firm, P.A.                                     12              Further Examination by Mr. Watson              75
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13 Van Buren, Arkansas 72956                                    13   REPORTER'S CERTIFICATE                                    82
   gentry@wahlmeierlaw.com
14                                                              14                        E X H I B I T S
                    *** For Crawford County ***
15                                                              15   NUMBER                  DESCRIPTION                    PAGE
   MS. BETTINA E. BROWNSTEIN
16 Attorney at Law                                              16   Deft's 1      Copy of Complaint                           21
   Bettina E. Brownstein Law Firm
17 904 West 2nd Street, Suite 2                                 17   Deft's 2      Copy of Senate Bill 81                      32
   Little Rock, Arkansas 72201
18 bettinabrownstein@gmail.com                                  18   Deft's 3      Bates Nos. CrawfordCo_000023-000030         39
19 *** For the Plaintiffs, Olivia Farrell, Jennie Kirby,        19   Deft's 4      Bates Nos. CrawfordCo_000003-000004         42
   Hayden Kirby and Leta Caplinger ***                                        (COPIES OF EXHIBITS SCANNED INTO ETRANSCRIPT)
20 *** On Behalf of the Arkansas Civil                          20
       Liberties Union Foundation, Inc. ***
21                                                              21                            * * * * *
   MR. JOHN T. ADAMS
22 Attorney at Law                                              22
   Fuqua Campbell, P.A.
23 Riviera Tower - 3700 Cantrell Road, Suite 205                23
   Little Rock, Arkansas 72202
24                                                              24
   *** For The Plaintiffs, Central Arkansas Library System,
25 Nate Coulter and the Eureka Springs Carnegie Public          25


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 1            ANSWERS AND DEPOSITION OF LETA JO CAPLINGER,
                                                                 1      has asked us to go around and introduce
 2 ESQ., a witness produced at the request of the DEFENDANTS,
                                                                 2      ourselves and who we're representing.
 3 was taken in the above-styled and numbered cause on the
                                                                 3          If during the course of this deposition,
 4 11th day of December 2023, before Michelle R. Satterfield,
                                                                 4      the folks that appearing, via Teams, need to
 5 CCR, a Notary Public in and for Faulkner County, Arkansas,
                                                                 5      make an objection or need to chime in, chime in,
 6 at the offices of the Wahlmeier Law Firm, P.A., located at    6      but state your name as well at some point,
 7 1101 Walnut, Van Buren, Arkansas, at 9:08 a.m., pursuant      7      either at the beginning or a couple of words in
 8 to the agreement hereinafter set forth.                       8      to your objection or statement. That way the
 9                                                               9      court reporter can keep a clean record.
10                                                              10          I'll start off and we can just go around
11                                                              11      the room. I'm Sam McLelland. I'm representing
                   S T I P U L A T I O N S
12                                                              12      Crawford County in this matter.
             IT IS STIPULATED AND AGREED by and between the
13                                                              13          MR. WATSON: Noah Watson with the Arkansas
   parties through their respective counsel that the
14                                                              14      Attorney General's Offices representing the
   deposition of Leta Jo Caplinger, Esq. may be taken at the
15                                                              15      prosecuting attorneys.
   time and place designated pursuant to the Federal Rules of
16                                                              16          MR. WAHLMEIER: I'm Gentry Wahlmeier. I
   Civil Procedure.
17                                                              17      represent Crawford County.
                          * * * * *
18                                                              18          MR. ADAMS: I'm John Adams. I relationship
19                                                              19      the Central Arkansas Library System, Nate
20                                                              20      Coulter, and the Eureka Springs Carnegie Public
21                                                              21      Library.
22                                                              22          MS. BROWNSTEIN: I'm Bettina Brownstein. I
23                                                              23      represent Jennie Kirby, Hayden Kirby, Olivia
24                                                              24      Farrell, and Leta Caplinger.
25                                                              25          MR. MCLELLAND: Rebecca, who do you

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 1          LETA JO CAPLINGER, ESQ.,                             1     represent?
 2 the witness hereinbefore named, having been previously        2        MS. HUGHES: Rebecca Hughes Parker. We
 3 cautioned and sworn, or affirmed, to tell the truth, the      3     represent Pearl's Books, Wordsworth Community
 4 whole truth, and nothing but the truth, testified as          4     Bookstore, American Booksellers Association,
 5 follows:                                                      5     Association of American Publishers, Authors
 6          MR. MCLELLAND: Good morning,                         6     Guild, Comic Book Legal Defense Fund, and the
 7       Ms. Caplinger.                                          7     Freedom to Read Foundation.
 8          Before we get started, I just want to                8        MR. MCLELLAND: Thank you. Vince, who are
 9       confirm that all counsel that's appearing               9     you representing?
10       remotely can hear me and that we can hear you,         10        MR. CHADICK: Vincent Chadick representing
11       so if we could do like a quick sound check to          11     Fayetteville Public Library.
12       make sure.                                             12        MR. MCLELLAND: Ben?
13          Rebecca, can you hear us?                           13        MR. SEEL: Good morning, I'm Ben Seel. I
14          MS. HUGHES: Yes, I can hear you, thank              14     representing Adam Webb, Arkansas Library
15       you.                                                   15     Association, and Advocates for All Arkansas
16          MR. MCLELLAND: Vince?                               16     Libraries.
17          MR. CHADICK: Yes.                                   17        MR. ECONOMOS: Likewise, I'm Orlando
18          MR. MCLELLAND: Ben?                                 18     Economos with Democracy Forward. I'm
19          MR. SEEL: Yes, I can hear you, thanks.              19     representing Advocates for All Arkansas
20          MR. MCLELLAND: Okay. And Orlando?                   20     Libraries, Arkansas Library Association and Adam
21          MR. ECONOMOS: Yes.                                  21     Webb.
22          MR. MCLELLAND: Okay. Great, we can hear             22        MR. MCLELLAND: Great. Thanks everyone for
23       everyone.                                              23     doing that. I appreciate it.
24          Because we have so many people attending,           24           EXAMINATION
25       both in person and remotely, the court reporter        25 BY MR. MCLELLAND:


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 1 Q All right. Ms. Caplinger, we'll get started. Can           1 position?
 2 you spell your name for us?                                  2 A No. I have a degree in management.
 3 A Yes, my first name is Leta; L-E-T-A. My last name is       3 Q And where is that degree from?
 4 Caplinger; C-A-P-L-I-N-G-E-R.                                4 A Harding University.
 5 Q Thank you. Have you ever given a deposition before?        5 Q How long did you hold that job in Little Rock?
 6 A No.                                                        6 A I think close to three years.
 7 Q So do you understand that your testimony today is          7 Q And why did you leave that job?
 8 under oath?                                                  8 A We moved here to Fort Smith.
 9 A Yes.                                                       9 Q Okay. So where did you go to law school?
10 Q It's the same oath that you would be under if we were     10 A University of Arkansas at Fayetteville.
11 in the court.                                               11 Q So Harding and the University of Arkansas are the
12 A Yes.                                                      12 only two --
13 Q During the course of this deposition I'm going to do      13 A Yes.
14 my best not to speak over you, and I'll ask the same to     14 Q -- places of higher education you've gone?
15 you, not to speak over me, so our court reporter here can   15 A Yes.
16 get a clean record. Okay?                                   16 Q Okay. Where did you go to high school?
17 A (Witness nods head in the affirmative.)                   17 A David Hickman in Colombia, Missouri.
18 Q I know that you and I, we tend to speak somewhat          18 Q Were you born in Missouri?
19 fast, or we get excited and speak fast. If you could,       19 A No.
20 just be mindful that our court reporter is trying take      20 Q Where were you born?
21 down everything that we're saying.                          21 A Maryland.
22     Is there any reason why your testimony today wouldn't   22 Q When did you move to Missouri?
23 be the truth, or the whole truth?                           23 A We moved to Missouri in 1974.
24 A No.                                                       24 Q Okay. And when did you move to Arkansas?
25 Q What do you do for a living, Ms. Caplinger?               25 A Well, other than attending college, I moved to


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 1 A I am an attorney.                                          1 Arkansas, let me think. I think it was 1982 or '3.
 2 Q And how long have you been an attorney?                    2 Q And have you lived here since?
 3 A I have been an attorney since 1996.                        3 A Yes, I've lived in the State of Arkansas since --
 4 Q Okay. And where do you practice?                           4 with the exception of one year in Arizona.
 5 A Where do I practice?                                       5 Q Okay. What were you doing in Arizona?
 6 Q Where do you practice?                                     6 A My husband's job took us there.
 7 A Here in Crawford County, Sebastian County, mainly,         7 Q Okay.
 8 but the State of Arkansas.                                   8 A But I worked for a bookstore.
 9 Q Okay. And have you practiced here the entire time?         9 Q What did you do -- what bookstore did you --
10 A Yes.                                                      10 A It was Scribner's Bookstore.
11 Q Okay. Before you were a lawyer, what did you do?          11 Q In Arizona?
12 A Well, I was in retail. I worked at Penney's, I            12 A In Arizona.
13 worked at Publishers Bookstore in Little Rock when it was   13 Q And what did you --
14 there, I worked at TG&Y.                                    14 A In Scottsdale.
15 Q When you worked in the bookstore in Little Rock, what     15 Q -- do there?
16 did you do?                                                 16 A We were starting -- they were opening a bookstore, so
17 A I was the children's book manager.                        17 basically arranged books and then assisted customers with
18 Q What did your job duties entail?                          18 book selection.
19 A I selected and purchased the children's books for the     19 Q Did you have any training associated with any -- any
20 children's department and I arranged and kept it orderly    20 formal training -- did you have any formal training that
21 and I helped clients select books -- or helped customers    21 was required before you took that position?
22 select books.                                               22 A No.
23 Q Did you go to school for that?                            23 Q Did you receive any formal training in association
24 A No.                                                       24 with that position?
25 Q Did you have any training associated with that            25 A No.


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 1 Q And how long did you hold that job in Arizona?              1 Q You said that you spoke with -- you just said that
 2 A A year.                                                     2 you spoke with Deidre about the, quote, "particular
 3 Q When you arranged the books in Arizona -- or with           3 situation," that was occurring for several months here in
 4 that bookstore in Arizona, rather, any particular focus,      4 Crawford County --
 5 like children's books?                                        5 A Yes.
 6 A No, it was just storewide.                                  6 Q -- is that right?
 7 Q All right. I'm going to get into kind of the lawsuit        7     First, what particular situation? What are the
 8 now. It's -- you've brought this lawsuit against Crawford     8 details of that situation that you're referencing? When
 9 County and a host of other prosecuting attorney               9 you say particular situation, what do you mean?
10 defendants. What is your understanding or reason --          10 A Well, I wanted to get a more factual basis than what
11 what's your reason for bringing this lawsuit?                11 I had read in the newspaper, that was more particular
12 A I am a library patron. I believe in the purpose of         12 about what was happening with the library board and
13 libraries. I have used libraries since I was a small         13 meetings of the library board, and then what was happening
14 child. They're very important to me personally, libraries    14 at meetings with the Crawford County Quorum Court
15 are important to me professionally, because without law      15 concerning the library and the library board.
16 libraries where would we be?                                 16 Q And when you say the library board, you're
17    It is -- it came to my awareness, through media, that     17 referencing the Crawford County Library Board?
18 book -- libraries were being attacked around the country,    18 A Yes, the Crawford County Library Board.
19 and then when I saw it happening here, I chose to get        19 Q And only that library board?
20 involved.                                                    20 A Yes.
21 Q When you say you chose to get involved, how did you        21 Q And you said that that particular situation, which
22 do that?                                                     22 you've just described, had been going on for several
23 A I read an article, and I think it was the Press            23 months?
24 Argus-Courier, which is the Van Buren newspaper, and saw     24 A Yes.
25 that these things were going on about book selection in      25 Q To your knowledge when did it begin?


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 1 the library, and so I spoke with the library director, who    1 A I believe October and November. I know it --
 2 at that time was Deidre -- and I cannot pronounce her last    2 definitely things were going on in November. It may have
 3 name.                                                         3 started a little bit earlier than that, though, like
 4    And we spoke for about an hour and then she put me in      4 October.
 5 touch with some other people who were -- have been            5 Q Of 20 --
 6 involved in dealing with the situation from the beginning,    6 A 2022.
 7 and I have been involved since that time.                     7 Q Okay. So in 2022, this particular situation arises
 8 Q And approximately when was that conversation with           8 regarding the Library Board here in Crawford County and
 9 Deidre?                                                       9 the Quorum Court here in Crawford County; is that correct?
10 A It was in -- I think it was in February or March.          10 A Yes.
11 Q So in approximately February or March you spoke with       11 Q And you wanted to get a more factual basis regarding
12 Deidre; is that correct?                                     12 the books that they were moving; is that correct?
13 A Yes.                                                       13 A And the activities -- well, the actual things that
14 Q And what did you speak about?                              14 were going on. I wanted more information than what had
15 A What was going on, the situation in general.               15 been available in the newspaper article.
16 Q When you say, "the situation," what do you mean?           16 Q And what did that newspaper article say?
17 A I wanted to speak with her because she was in charge       17 A Well, I'm trying to remember. It basically said that
18 of the library, about the particular situation, what was     18 they were having problems, that people had been
19 happening, who was involved in opposing the book             19 complaining about book selection at the library and I
20 selection, what had been happening in general because I      20 think that's basically the gist of what I read about it.
21 had not been involved until that time and it had been        21 Q And so you went and met with Ms. Grzymala to figure
22 going on for several months, and we just talked in general   22 out the specifics of the issues related to those books?
23 about the issues with the quorum court, the Crawford         23 A Yes. Before -- I wanted to have a more factual basis
24 County Quorum Court, and the library board, and then what    24 to make a decision about whether I wanted to be involved
25 types of book were being targeted.                           25 or not.


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 1 Q Understood. And I think that you said Ms. Grzymala          1 A Oh, let's see here --
 2 then directed you somewhere to get involved; is that          2           MS. BROWNSTEIN: I'm going to -- a meeting
 3 right?                                                        3        of what? Please clarify.
 4 A Yes.                                                        4           MR. MCLELLAND: Yeah, I can clarify.
 5 Q Where?                                                      5 BY MR. MCLELLAND:
 6 A She contacted, at that time -- members at that time.        6 Q Did you ever attend a meeting of the American
 7 They were called the AR/OK Advocates for Equality.            7 Advocates for Equality?
 8 They're now called the American Advocates for Equality,       8 A Yes.
 9 and they were a group that was kind of coordinating the       9 Q And how many meetings did you attend?
10 public dissent to the situation.                             10 A I think I've attended three or four by now.
11 Q Was it through this American Advocates for Equality        11 Q Were they in person?
12 that you first came to know about Act 372?                   12 A In person, yes.
13 A I'm not sure. At that time I may have been aware of        13 Q And so what I'm -- I understand your testimony, but
14 it before, but I certainly looked into it more after I got   14 maybe you can help me out. I'm just struggling to figure
15 involved with them.                                          15 out how your meeting with the American Advocates for
16 Q And when did you get involved with them?                   16 Equality got you to being a Plaintiff in this lawsuit.
17 A Again, it would have been around the same time that I      17     Maybe I misunderstood your testimony, but I was --
18 talked with Deidre.                                          18 I'd asked you how you came to be a Plaintiff in this
19 Q So February or March?                                      19 lawsuit and you began to explain the particular situation,
20 A February or March, yes.                                    20 Deidre and the --
21 Q Okay.                                                      21 A Right.
22           MS. BROWNSTEIN: You're talking about 19 --         22 Q -- and the advocates --
23           THE WITNESS: 2023, yes.                            23 A Right.
24 BY MR. MCLELLAND:                                            24 Q Can you connect --
25 Q Yeah, that's actually a helpful point. I'll go             25 A Yes.


                                                      Page 18                                                           Page 20

 1 through a quick timeline --                                   1 Q -- the dots for me?
 2 A Sure.                                                       2 A Yes.
 3 Q -- and you can confirm or correct me. I have it in          3            MS. BROWNSTEIN: Let him finish.
 4 October or November of 2022, there is a particular            4            THE WITNESS: Okay.
 5 situation that arises with the Crawford County Library        5 BY MR. MCLELLAND:
 6 System. You read -- then you read a newspaper article         6 Q Can you connect the dots to how you ended up being a
 7 some time at the end of 2022, beginning of 2023, and then     7 Plaintiff in this lawsuit for me?
 8 in February or March you speak with Deidre, who is in         8 A After talking with them, they informed me that they
 9 charge of the Crawford County Library System, in February     9 were being -- looking into the possibility of filing a
10 or March of 2023 you speak with the American Advocates for   10 couple of lawsuits and I spoke with Mr. Adams on the
11 Equality. Is that timeline correct?                          11 phone.
12 A Yes.                                                       12 Q I don't want to know the contents of that --
13 Q Okay. What did the American Advocates for                  13 A Right, that's --
14 Equality -- how did they direct you to get involved?         14 Q -- and I see your attorney -- yeah, I want to be
15 A They explained what they had been doing about              15 clear. I understand you spoke with Mr. Adams. I do not
16 appearing at library board meetings and quorum court         16 want to know the contents of that --
17 meetings, some of that history, and invited me to attend     17 A That's right, but that's how --
18 library board meetings and quorum court meetings and         18 Q Understood.
19 explained, you know, a little bit about the members of the   19            MR. ADAMS: He probably wants to know the
20 group. It wasn't really organized at that time, you know.    20        content of that.
21 They had a name and they had people who were putting         21            MR. MCLELLAND: Oh, yes, I want to know,
22 things together.                                             22        but I respect the privilege.
23 Q Did you ever attend a meeting?                             23            THE WITNESS: I understand.
24 A Yes.                                                       24 BY MR. MCLELLAND:
25 Q How many meetings?                                         25 Q And so, again, not knowing the contents of the


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 1 conversation you had with Mr. Adams, approximately how        1 A Yes.
 2 many times did you speak with Mr. Adams?                      2 Q Did you review that letter in preparation for today's
 3 A Maybe three times at that point, at least two.              3 deposition?
 4 Q Okay. Not knowing the contents, just the number, did        4 A I have not.
 5 you speak -- did you ever speak with any other attorney       5 Q Okay. The next paragraph states that in December of
 6 that is on this lawsuit?                                      6 2022, Defendant Chris Keith appointed Tammi Hamby and two
 7 A No.                                                         7 others to the Crawford County Library Board of Directors,
 8 Q Okay.                                                       8 forming a majority block on the five-member board. On
 9           MS. BROWNSTEIN: A timeframe?                        9 January 10th, the Crawford County Library staff announced
10 BY MR. MCLELLAND:                                            10 that all branches of the Crawford County Library had,
11 Q Beginning in October of 2022, until July of 2023.          11 quote, "moved there LGBTQ children's books out of the
12 A There is a possibility that at a quorum court meeting      12 children's section and into a new area within the
13 I might have directed a comment to Mr. Wahlmeier or he       13 respective adult sections."
14 might have heard a comment, but it was not a one-on-one      14    What is your knowledge of the movement of books that
15 conversation.                                                15 are referenced in that January 10th announcement?
16 Q Okay. I'm going to give you an exhibit here.               16 A Well, a -- in the main library they have created what
17           MR. MCLELLAND: For the people online, it's         17 they're calling a Social Section and it has moved close to
18        just a copy of the Complaint, if you want to          18 200 books that would have been in the juvenile or the
19        pull it up for your own benefit. We'll mark           19 young adult section to that particular section.
20        this as Defendant's Exhibit 1.                        20 Q Let's unpack that for a little bit. When did the
21 (Defendant's Exhibit 1 was marked & attached hereto)         21 Social Section first come to be?
22    Ms. Caplinger, do you recognize the document that I       22 A I don't know specifically.
23 just handed you that I've marked as Defendant's Exhibit 1?   23 Q Is it safe to say, based upon your allegations,
24 A Yes.                                                       24 though, that by January 10th --
25 Q Okay. And what is it a copy of?                            25 A Yes.


                                                      Page 22                                                          Page 24

 1 A It is a copy of the Complaint originating this case.        1 Q -- they had it moved?
 2 Q And do you see your name appearing in the caption of        2          MS. BROWNSTEIN: I'm going to object.
 3 the first page?                                               3       These are not just her allegations that you're
 4 A Yes, I do.                                                  4       reading.
 5 Q Do you see at the top where it says that this is Case       5          MR. MCLELLAND: Okay.
 6 No. 5:23-cv-05086-TLB?                                        6          MS. BROWNSTEIN: I mean, there are many
 7 A Yes, I do.                                                  7       Plaintiffs in this case.
 8 Q Okay. If you will flip to Page 25 of the Complaint,         8          MR. MCLELLAND: Okay. And I'll just note
 9 I'm going to spend a little time walking through this         9       for the record that only Ms. Caplinger has been
10 Complaint against Crawford County in this case. It           10       found to have standing.
11 states, in Paragraph 78, that over the past year a dispute   11          MS. BROWNSTEIN: Well, that's a legal
12 about materials in the Crawford County Library led to the    12       question that's not a subject of this
13 departure of the Library Executive Director.                 13       deposition, so I just want to make it clear that
14     Who was that person?                                     14       these allegations cannot just be attributed to
15 A At that time the Library Director was Deidre               15       Ms. Caplinger.
16 Grzymala.                                                    16          MR. MCLELLAND: Okay, objection noted.
17 Q Okay. The next sentence: "In a November 10, 2022           17 BY MR. MCLELLAND:
18 letter, Crawford County residents, Jeffrey and Tammi         18 Q Ms. Caplinger, are you aware -- by the end of January
19 Hamby, alleged that the then CCL Director Deidre Grzymala,   19 of 2023, was the Social Section in effect in the Crawford
20 and her employees were 'normalizing and equating             20 County Library System?
21 homosexual and transsexual lifestyles with heterosexual      21 A Yes.
22 family units' and sought greater participation in material   22 Q Was it in effect by January 10th?
23 selection."                                                  23 A I do not know.
24     Have you reviewed a copy of that -- or have you ever     24 Q Who created the Social Section?
25 seen a copy of that letter?                                  25 A Deidre Grzymala.


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 1 Q Okay. And you said that the social section moved            1 A There is a foyer. You walk into the library and on
 2 books that would be in the young adult section or the --      2 the -- let me make sure I get my directions right. On the
 3 A Yes.                                                        3 left is the checkout counter and the librarian's desk. On
 4 Q -- juvenile section; is that correct?                       4 the right is the children's books section, which is
 5    And moved them to another section?                         5 actually a separate room. Then you go on into the library
 6 A Another part of the library, which is -- you know,          6 past that desk and there are several tables set up in a
 7 libraries are set up in sections. You know, they have         7 row and there is a bookshelf. The first bookshelf you
 8 Dewey Decimal and Library of Congress numbers that usually    8 come into where they show the new books, whether they're
 9 are subject oriented, and so they created what they're        9 adult's or children's fiction and nonfiction, on the back
10 calling the Social Section to put these books in that had    10 of that bookshelf or stack is where the social section has
11 been challenged from the quorum court.                       11 been placed.
12 Q They were challenged --                                    12 Q And I believe you said earlier that the main branch
13 A Or at the -- at the quorum court's direction. These        13 of the library, the Social Section houses about 200 books?
14 books had been challenged in general and the quorum court    14 A I think, approximately.
15 asked Ms. Deidre Grzymala to do something with them and      15 Q Okay.
16 that -- suggested moving them to another area in the         16 A There may have been more added since I last counted.
17 library.                                                     17 Q So you walk in the library, you go past the
18 Q When you say challenged, the books were challenged,        18 children's section that's on the right, the checkout
19 challenged by whom?                                          19 counter is on your left. The first shelving section on my
20 A Well, there were several people who -- the library         20 left houses, on one side, the new books, and the other
21 has a challenge system. Anybody who thinks that a book       21 side, it houses the social section; is that correct?
22 should not be in the library can challenge that book for     22 A Yes, and other books as well.
23 whatever reason. Some of the books had been challenged by    23 Q And other books as well. To access that social
24 individuals. Some of those individuals had apparently        24 section shelf, is there a physical door --
25 contacted the quorum court, as did Tammi Hamby and her       25 A No.


                                                      Page 26                                                         Page 28

 1 husband. So the quorum court wanted to find some sort of      1 Q -- or barrier that prevents -- or physical barrier
 2 temporary solution, is my understanding.                      2 that prevents me going into that social section?
 3 Q You also said -- speaking of the temporary solution,        3 A No.
 4 I believe you just gave testimony, a moment ago, that said    4 Q Are you aware of any policy, by the Crawford County
 5 that the quorum court directed Deidre to make the Social      5 Library System, that designates the social section as
 6 Section; is that correct?                                     6 adults only?
 7 A Indirectly.                                                 7 A The library has a policy that children under the age
 8 Q Indirectly. How do you mean?                                8 of ten should be accompanied by an adult. There is a sign
 9 A They asked if she could move them to another part of        9 in that section indicating that policy.
10 the library.                                                 10 Q I understand the policy of -- the policy of children
11 Q Okay. And who, on the quorum court, asked that?            11 under ten being accompanied by an adult. Are you aware
12 A I do not know.                                             12 whether that policy is specific to the social section or
13 Q Okay. So Deidre moved these books at the direction         13 is it a general policy?
14 of the quorum court; is that correct?                        14 A It's a general policy.
15 A Yes.                                                       15 Q Meaning it applies to the entire library?
16 Q And where did she move them to? Where are they now         16 A Yes.
17 located?                                                     17 Q Do you know if it applies at all the branches or is
18 A Okay. Physically?                                          18 it just here at the main branch?
19 Q That's fine, yes.                                          19 A I believe it applies to the library system as a
20 A Okay. When you go to the main branch of the Crawford       20 whole.
21 County Library --                                            21 Q But are you -- and I appreciate the insight on the
22 Q And when you say main branch, you mean here in Van         22 policy related to 10-year-olds, but are you aware of any
23 Buren?                                                       23 policy that says explicitly the social section is for
24 A The one in Van Buren.                                      24 those 18 years and older only?
25 Q Okay.                                                      25 A No.


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 1 Q Are you aware of any reason why a 17-year-old could         1 available, constitutionally protected books and other
 2 not access the social section if they were -- if they were    2 media to their patrons and customers.
 3 able to get to the main library branch here in Van Buren      3     Specifically, Plaintiffs seek to preliminarily and
 4 and were able to get through the main door? Are you aware     4 permanently enjoin an enforcement of and declare facially
 5 of any reason why that 17-year-old would be prevented from    5 unconstitutional and void Sections 1 and 5 of Act 372 as
 6 going into the social section?                                6 violations of their rights under the First and Fourteenth
 7 A No.                                                         7 Amendments of the U.S. Constitution.
 8 Q I know we've spoken a lot about the social section so       8     Did I read that right, Ms. Caplinger?
 9 far, and the particular situation here in Crawford County,    9 A Yes, you did.
10 but it's my understanding that your lawsuit is seeking to    10 Q And is that your allegation against all Defendants in
11 enjoin a statute that was passed by the State of Arkansas?   11 this case?
12 A Yes.                                                       12 A Yes.
13 Q Okay. What is the name of that statute?                    13 Q And so where it says declare facially
14 A I don't know --                                            14 unconstitutional, that's your allegation?
15 Q Sorry, let me rephrase. What's the act number, if          15            MS. BROWNSTEIN: Again, note my objection
16 you know?                                                    16        for asking any kind of legal analysis or
17 A I believe it was Act 372 of the 2023 legislature.          17        conclusion from this witness who is here as a
18 Q When was Act 372 signed into law; do you know?             18        fact witness.
19 A Not specifically.                                          19 BY MR. MCLELLAND:
20 Q So Act 372 was passed in 2023?                             20 Q I understood -- I believe my question was does your
21 A Yes.                                                       21 allegation state declare facially unconstitutional? Is
22 Q Signed into law at some point in 2023. You are             22 that what that states?
23 seeking to -- it's my understanding that you are seeking     23 A Yes.
24 to enjoin that act on its face. It's what I'll call          24 Q Okay. So your allegation in Paragraph 1 is what I'm
25 facial challenge.                                            25 referencing. Section 1 of Act 372, what does it do?


                                                      Page 30                                                         Page 32

 1            MS. BROWNSTEIN: I'm going to object. She           1 A Do you have a copy of the statute?
 2        is an attorney, but she's not a civil rights           2 Q I do. We'll put this in as Defendant's Exhibit 2.
 3        attorney and anything that's asking her legal          3 (Defendant's Exhibit 2 was marked & attached hereto)
 4        questions, I'm going to object to. She's here          4           MS. BROWNSTEIN: Excuse me, do you need
 5        as a fact witness.                                     5        more water?
 6 BY MR. MCLELLAND:                                             6 BY MR. MCLELLAND:
 7 Q Ms. Caplinger, can you please go to Page 2? And to          7 Q Oh, yeah, and I should have said this at the
 8 be clear, for the record Page 2 of Defendant's Exhibit 1.     8 beginning. If you need a break at any time, please let
 9     Have you turned there, Ms. Caplinger?                     9 your attorney know and --
10 A Yes.                                                       10 A Sure.
11 Q Defendant's Exhibit 1 is a copy of the Complaint you       11 Q -- let us know and we can take a break.
12 filed in this lawsuit. Did you review this Complaint         12     Do you want to take a break now for water?
13 prior to your deposition?                                    13 A Yeah, if you don't mind.
14 A Not specifically.                                          14           MR. MCLELLAND: Okay. We'll go off the
15 Q What do you mean by that?                                  15        record.
16 A I have read this. I did not specifically review it         16          (Brief recess was taken.)
17 for -- just for today.                                       17 BY MR. MCLELLAND:
18 Q Understood. Did you review it before it was filed?         18 Q All right, we're back on the record. Ms. Caplinger,
19 A Yes.                                                       19 I was about to introduce what we've titled Defendant's
20 Q Are the allegations -- will you please review              20 Exhibit 2, which is a copy of Act 372. You have a copy of
21 Paragraph 1 of the Complaint, and I'm going to read it as    21 that in your hands, correct?
22 well. It states that this action concerns whether            22 A I do.
23 Arkansas may enforce parts of the recently enacted Act 372   23 Q The top of Defendant's Exhibit 2, do you see where it
24 of 2023, a vague, sweeping law that restrains public         24 states Case No. 5:23-cv-05086-TLB?
25 libraries and booksellers in Arkansas from making,           25 A Yes.


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 1 Q And it says Document 2-1?                                  1 Crawford County in this lawsuit?
 2 A Yes.                                                       2 A Yes.
 3 Q Okay. Before going on the break I asked you what           3 Q What does Section 5 do to Crawford County?
 4 Section 1 of Act 372 does based upon your allegations in     4 A It creates the requirements for challenging materials
 5 Paragraph 1 of your Complaint. What does -- and you asked    5 in the library, and it adds the qualification that if the
 6 for a copy of this act. What does Section 1 do, according    6 person is not happy with the library's decision about a
 7 to Act 372?                                                  7 challenged piece of material, they can appeal that
 8            MS. BROWNSTEIN: Note my objection to any          8 decision to the executive head of the city -- county or
 9        attempt to hold her to a legal understanding of       9 city, which would be the quorum court or the city
10        this act.                                            10 directors, and then they make the final determination.
11 BY MR. MCLELLAND:                                           11 That's -- I'm sorry, would be on Page 9, Sub 12, Sub A,
12 Q Yeah, agreed. I just want to know what is your            12 starting on Line 8 and then going down.
13 understanding of Section 1 that you're trying to stop in    13 Q So Act 372 would require Crawford County to implement
14 this lawsuit.                                               14 this challenge procedure?
15 A Well, there are a great deal of definitions in            15 A Yes.
16 Section 1 and it describes that the act of furnishing a     16 Q And it would require this appeal process as well?
17 harmful item to a minor --                                  17 A Yes.
18 Q And where are you referencing that definition? You        18 Q Are you aware whether Crawford County is able to
19 can use the page number at the bottom.                      19 deviate from this? I'll rephrase.
20 A Okay, on Page 2.                                          20 A Okay.
21 Q Line number?                                              21 Q You said that this would require Crawford County to
22 A Line No. 14.                                              22 create a challenge policy; is that right?
23 Q Okay.                                                     23 A The Crawford County Library?
24 A No, not 14, Line No. 26.                                  24 Q Yes.
25 Q Okay. Page 2, Line No. 26?                                25 A Yes.


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 1 A Yes.                                                       1 Q Thank you. Do you see on Page 7, Line 15 and 16, and
 2 Q I'm there.                                                 2 I'm going to read this and if I don't read it correctly,
 3 A So it describes how a person commits furnishing a          3 please correct me.
 4 harmful item to a minor.                                     4     Line 15 begins: "A written policy adopted by a
 5 Q And that is what you're trying to stop in this             5 county or municipal library under Subsection B of this
 6 lawsuit?                                                     6 section shall provide, at a minimum, the following:" And
 7 A What we're trying to stop was the application of this      7 then it lists subpoints.
 8 to librarians.                                               8 A I was on the wrong page. Just a moment.
 9 Q The application of Section 1?                              9 Q That's okay. Do you see on Page 7, Line 15, where it
10 A Yes.                                                      10 states: "A written policy adopted by a county or
11 Q To librarians?                                            11 municipal library under Subsection B of this section shall
12 A Yes.                                                      12 provide, at a minimum, the following," and then it lists
13 Q And what does Section 1 do to librarians?                 13 subparts? Do you see where I stated Line 15 and 16?
14 A In and of itself it provides the description of a         14 A I'm on the wrong page again. I don't have a Page 7.
15 crime. Section 2 specifically applies it to libraries.      15 I have 6 and I have 8. I apologize.
16 Q So Section 1 creates -- defines a crime of furnishing     16 Q That's okay.
17 harmful material to a minor? Is that your testimony?        17            MS. BROWNSTEIN: I'll hand it to her.
18 A Yes.                                                      18 A Now, if you don't mind, let me take a look at this
19 Q Okay. And you're saying that Section 2 then applies       19 for a second.
20 it to the librarians?                                       20 Q Yeah, go ahead.
21 A Yes, the library, specifically the public library.        21 A Okay.
22 Q Okay. Are you asserting, in this lawsuit, that            22 Q And I read that correctly?
23 Section 1 applies to Crawford County?                       23 A Yes.
24 A Yes.                                                      24 Q Okay. Did Act 372 ever go into effect? Was it ever
25 Q Okay. Are you asserting that Section 5 applies to         25 the law in Arkansas?


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 1 A It was enjoined, so it has not yet gone into effect,       1 Q Of?
 2 as far as the sections we have challenged.                   2 A Of 2023.
 3 Q Okay. And that is Section 1 and Section 5?                 3 Q Okay. And so your first meeting was in approximately
 4 A Yes.                                                       4 March or April of 2023?
 5 Q So Section 1 and Section 5 aren't in effect right          5 A Yes.
 6 now?                                                         6 Q Did you ever attend any library board meetings?
 7 A No.                                                        7 A Yes.
 8 Q When was it enjoined? If I was to tell you --              8 Q Did you attend them both virtually and in person?
 9 A When the judge signed the order.                           9 A Yes.
10 Q Yeah, I think we can be candid here.                      10 Q Do you remember when your first library meeting was?
11 A Sorry.                                                    11 A It would have been in March or April.
12 Q You remember testifying at the preliminary injunction     12 Q March or April of 2023?
13 hearing?                                                    13 A Yes.
14 A Yes, I did.                                               14 Q Earlier you talked about Ms. Grzymala moving the
15 Q That was July 25th of 2023?                               15 books in the Crawford County Library System. Do you
16 A Yes.                                                      16 remember giving testimony about that topic?
17 Q Okay. Judge Brooks issued his order some days later       17 A Yes.
18 and enjoined the act, so this act has never gone into       18 Q And you said she did so at the indirect direction of
19 effect in Arkansas?                                         19 the quorum court. Do you remember testimony to that
20 A Those sections.                                           20 effect?
21 Q Those sections have not gone into effect in Arkansas?     21 A Yes.
22 A Yes.                                                      22 Q Okay. I'm going to introduce Defendant's Exhibit --
23 Q Including here in Crawford County?                        23 I think we're up to 3.
24 A Yes.                                                      24 (Defendant's Exhibit 3 was marked & attached hereto)
25 Q Okay. Do you remember testifying at the preliminary       25     Take a moment to review this. It's listed as Bates

                                                     Page 38                                                          Page 40

 1 injunction hearing on July 25th?                             1 stamp Crawford County 23 to Crawford County 30.
 2 A I do.                                                      2 A Okay.
 3 Q What was the nature of your testimony?                     3 Q Specifically 27 and 28.
 4 A You have a transcript. I'm -- I'm not sure. I can't        4 A Okay.
 5 quote exactly.                                               5 Q Take your time.
 6 Q If I was to tell you that your testimony -- would you      6 A Okay.
 7 agree with me that your testimony was in relation to         7 Q Did you attend the December 19th meeting?
 8 authenticating Minutes from the Library Board of Crawford    8 A I did not.
 9 County and the Quorum Court of Crawford County?              9 Q Okay. You referenced earlier that Ms. Grzymala had
10 A Yes.                                                      10 been indirectly told to move the books in the social
11 Q Okay. Do you remember giving testimony, at the            11 section. Do you remember that testimony?
12 preliminary injunction hearing, that in authenticating      12 A Yes.
13 those documents, that you attended those meetings?          13 Q Are the Minutes written here on Page 27 to 28 the --
14 A I had attended some of those meetings.                    14 at least part of the indirect --
15 Q Yes, you attended some of them and I believe that you     15 A Yes.
16 attended some in person and some virtually?                 16           MS. BROWNSTEIN: Let him finish the
17 A Yes.                                                      17        question.
18 Q Do you know specifically which ones you attended in       18 Q -- direction to Ms. Grzymala?
19 person and which ones you attended virtually?               19 A Yes.
20 A Not off the top of my head. I attended the very           20 Q Okay. So looks like the Crawford County Quorum
21 first quorum court meeting that I went to in person. I      21 Court -- let me find it, sorry.
22 made a statement to the quorum court.                       22     Okay. So it states here on these Minutes that Justin
23 Q What date was that?                                       23 Peppas -- I hope I'm saying that right -- stated that
24 A I'm sorry, it was the next meeting. It was probably       24 nobody was asking for her job, just a compromise in the
25 March or April.                                             25 situation. Ms. Grzymala stated that she was more than


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 1 willing to make a compromise. I did have them take the        1 accompanied by adult.
 2 LGBT books out of the children's section and make an LGB      2 Q And that policy, though, is for the entire library?
 3 section for itself, so that families who want to check out    3 A It's for the entire library.
 4 those books can go over there and check them out, and for     4 Q Does it apply to the children's section?
 5 the ones that don't want to see it, it's not in the           5 A I assume it does.
 6 children's section.                                           6 Q Does it apply to the young adult section?
 7     Do you see where I read that?                             7 A I would assume it does.
 8 A Yes.                                                        8 Q It applies to the social section?
 9 Q In this Minutes entry, are you aware in the sentence        9 A Yes, it's specifically referenced again at the social
10 where it says I did have them take the LGBT books out, who   10 section.
11 the I is referencing? Is that Justin Peppas or is that       11 Q But it applies -- that policy applies library-wide?
12 Ms. Grzymala?                                                12 A Yes.
13 A I believe it's referencing Ms. Grzymala.                   13           MR. MCLELLAND: All right. Can we take
14 Q Okay. So Ms. Grzymala instructed them, whoever they        14       about a 10-minute break?
15 are, to take the books out of the children's section and     15           MS. BROWNSTEIN: Sure.
16 make an LGB section for itself, so families who want to      16           MR. MCLELLAND: I think I'm almost done. I
17 check out those books can go over there and check them       17       just want to go over my notes and then I will
18 out, and for the ones that don't want to see it, it's not    18       pass the witness. Let's come back at 10:32.
19 in the children's section. Is that what the sentence         19          (Brief recess was taken.)
20 says?                                                        20 BY MR. MCLELLAND:
21 A That's what the Minutes say, yes.                          21 Q All right. Ms. Caplinger, we're back on the record.
22 Q Yeah, that's what the Minutes say, that's fair.            22 You understand that your testimony is still under oath?
23     Okay. So those Minutes are from December 19th of         23 A Yes.
24 2022. We'll make that Defendant's 4 for the Crawford         24 Q I just have a few more questions for you. We've
25 County Library Minutes from January 10th, 2023.              25 referenced, a couple of times in this deposition, a


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 1 (Defendant's Exhibit 4 was marked & attached hereto)          1 general policy that 10-year-olds and younger must be
 2    Take a minute to review them. The page numbers on          2 accompanied by a parent.
 3 the bottom should have be Crawford County 3 to Crawford       3     Are you aware when that policy came to be?
 4 County 4.                                                     4 A I have no idea.
 5 A Okay.                                                       5 Q Okay. Do you remember discussing earlier the
 6 Q Do you see at the top where it says January 10th,           6 location of the social section in the main branch of the
 7 2023?                                                         7 Crawford County Library here in Van Buren?
 8 A Yes.                                                        8 A Yes.
 9 Q Will you flip over to the next page, Crawford County        9 Q And when you described it to me, you told me that on
10 Bates stamped 4, Line D. Does it state: "Compromise with     10 the right-hand-side there's a children's section?
11 Quorum Court - Outlined by Grzymala, the library has         11 A Yes.
12 agreed to put the books in an Adult Section labeled S and    12 Q What's it -- can you describe it? Is it just one
13 have color labels on books requiring parental guidance"?     13 shelf, is it --
14 A That's what the Minutes say, yes.                          14 A It is --
15 Q Where it says that they're in an Adult Section             15 Q -- several shelves?
16 labeled S, is that referencing the Social Section?           16             MS. BROWNSTEIN: You've got to let him
17 A Yes.                                                       17         finish.
18 Q We talked about this earlier, but is the social            18             THE WITNESS: I'm sorry.
19 section restricted to those only 18 and older?               19 BY MR. MCLELLAND:
20 A No.                                                        20 Q No, you're okay. Is it several sections, one
21 Q Okay. Is there any Crawford County Library policy          21 section; can you just describe the children's section?
22 that requires parental guidance as it says in the Minutes?   22 A It is a room and probably about -- well, it's a --
23 A Yes.                                                       23 it's a large room. It has glassed-in windows and it has
24 Q Okay. What is that policy?                                 24 multiple shelves.
25 A That children under the age of ten should be               25 Q Can people in the general adult section see into the


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 1 children's section through those glass walls?                  1 Q I've got a couple of questions here, Ms. Caplinger.
 2 A Yes.                                                         2     Thank you for your time today. I'll try and be
 3 Q Okay. And the children in the children's section can         3 quick, especially for a fellow Harding University
 4 see out --                                                     4 graduate, I'm making this as painless as possible.
 5 A Yes.                                                         5     So, first, I want to go back to something we talked
 6 Q -- into the general adult section?                           6 about quite a while ago. You mentioned that you've had
 7 A Yes.                                                         7 two experiences working in bookstores. One was in Little
 8 Q Is there any -- you described it as its own room with        8 Rock and another one was out in Arizona. I believe it was
 9 glass walls; is that correct?                                  9 Scottsdale?
10    The children's room is its own room in the library         10 A Yes.
11 with glass walls; is that correct?                            11 Q In both of those I believe you said that you were
12 A Yes.                                                        12 involved in selecting what materials came into the
13 Q Okay. Is there a door to that room, or is it just an        13 selection of the collection of the library -- excuse me,
14 open area?                                                    14 of the bookstore.
15 A I believe there's a door.                                   15 A At the first one.
16 Q Okay. If you will pull -- if you can reference              16 Q At the first one?
17 Defendant's Exhibit 1 and turn to Page 25, and if you'll      17 A At Publisher's Bookstore I did.
18 review Paragraphs 78, 79, 80, 81 and 82. If you'll just       18 Q Okay. And that was with the children's books?
19 review those and let me know when you're done.                19 A Yes, specifically.
20 A Okay.                                                       20 Q Okay. How did you make that decision, if you
21 Q Okay. Earlier there was an objection on the record          21 remember?
22 that the allegations in the Complaint were perhaps not        22 A Well, there -- at that time, this was in the '80s,
23 yours or were the combination of others. You've reviewed      23 there were multiple reviews of books that would be
24 Paragraphs 78, 79, 80, 81 and 82 of the Complaint.            24 published, that would give you an indication of the
25    Are these allegations yours, and if not, which ones        25 quality of the book by author or illustrator for


                                                       Page 46                                                         Page 48

 1 are not yours?                                                 1 children's books.
 2 A None them are specifically mine.                             2     Also, that was still a time when traveling book
 3 Q Okay. So you're not making -- so you're not                  3 salesmen came through, and so we would meet with the books
 4 asserting Paragraph 78, 79, 80, 81 or 82 against Crawford      4 salesmen and they would show us copies of books that they
 5 County?                                                        5 were highlighting that year, whether they were -- usually
 6 A No, they go against Crawford County.                         6 new books of some sort or the other.
 7 Q Okay.                                                        7 Q And did you accept or select every book that was
 8 A I'm saying I did not specifically write them.                8 presented to you?
 9 Q And I understand that you didn't specifically write          9 A No.
10 them. I'm assuming your attorney wrote them, but are          10 Q All right. So you had to make some sort of decision?
11 these words, written in these paragraphs, reflective of       11 A Yes.
12 your allegations against Crawford County?                     12 Q And what did you base that decision on, like what
13 A Yes.                                                        13 criteria?
14 Q Okay. Are you aware whether there are any -- are            14 A Well, I based the criteria on what I knew about the
15 there any areas in the Crawford County Library System --      15 author, what I knew about the illustrator, how well those
16 at any of its branches, are there any sections at those       16 books by those authors or illustrators might have sold in
17 branches that are restricted to those 18 and older?           17 the past, and trying to have a variety of books for the
18 A Not that I'm aware of.                                      18 different ages and different interests of children.
19 Q Okay. We'll pass the witness.                               19 Q So you would consider things like local interests,
20           MR. CHADICK: This is Vincent Chadick for            20 specifically in your community in Little Rock, as opposed
21        Fayetteville Public Library and I have no              21 to, you know, Washington, D.C. or something?
22        questions.                                             22 A Well, I -- based on sales, I considered the community
23           MR. MCLELLAND: Okay. We'll let Noah go.             23 and things that would also encourage children to read.
24               EXAMINATION                                     24 Q Okay. And do you recall ever not selecting a book
25 BY MR. WATSON:                                                25 based on the subject matter or material within it?


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 1 A No.                                                          1 react if the law went into effect?
 2 Q Might you have if a certain -- if something was ever         2 A Based upon the experience that I've had so far with
 3 given to you? Like was there a balance to that?                3 the Crawford County Library System, yes, they would react
 4           MS. BROWNSTEIN: I want to object --                  4 with fear. They are afraid of being arrested, they are
 5 BY MR. WATSON:                                                 5 afraid of the conflict, and negative publicity that has
 6 Q That was a bad question. Just forget it, it was a            6 been generated so far. They are concerned about their
 7 poorly-worded question.                                        7 financial support and the public support because they are
 8    Was there any limit to what -- what you might               8 a publically-supported, taxpayer-funded organization. So
 9 consider appropriate for children in the content that          9 I know that they are very, very concerned about how this
10 would have caused you not to select a material?               10 will affect them should it go into effect.
11 A I don't know that I ever considered that.                   11     I'm not as aware of how booksellers might react,
12 Q Okay. It just never crossed your mind?                      12 however, based on my shopping experience at
13 A (Witness shaking head from side to side.)                   13 Books-A-Million, they would have to probably remodel the
14 Q All right. Then I will move on to a little more             14 store or something to add closed-off sections to the --
15 recent and move to Act 372, which, as we mentioned, is        15 the store, which is basically, you know, a huge, open
16 what this lawsuit is about.                                   16 space.
17    So Mr. McLelland was asking you questions                  17 Q So you mentioned that librarians would be afraid of
18 specifically about Section 1, which is furnishing to a        18 several things, and you mentioned earlier you were not a
19 minor material that is harmful to a minor. That's what        19 librarian, so how are you -- how do you know they would be
20 that criminalizes. You said, I believe, that you were         20 afraid of, you know, arrests, publicity, their finances?
21 challenging that to stop its application to librarians.       21 A From the discussions that I've heard at the library
22 Do you recall that?                                           22 board meetings, from discussions that I had with
23 A Yes.                                                        23 Ms. Grzymala, from discussions at the advocates meetings.
24 Q Is that the only reason you're challenging Section 1?       24 There are actually some librarians who belong to that
25 A Well, it also applies to booksellers.                       25 group.


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 1 Q So you're also challenging it for that purpose?              1     And so there's just been general discussion of how
 2 A Yes.                                                         2 they're concerned it will affect their ability to choose
 3 Q Okay. And what specifically -- well, are you a               3 books. And then, of course, the targeting of librarians
 4 librarian?                                                     4 by groups, like the River Valley City Elders, who would
 5 A I am not.                                                    5 use the statute as an excuse to bring attention and create
 6 Q Are you a bookseller?                                        6 publicity for them as somehow standing up for the
 7 A I am not.                                                    7 community.
 8 Q Okay. So how does Section 1 affect you, I guess I'm          8 Q So I know you mentioned earlier, to Mr. McLelland,
 9 still trying to get to?                                        9 that you're aware that Section 2, which -- well, what it
10 A As a patron of the library and as a patron of               10 amends -- at one point, provided an exemption for
11 bookstores, my husband and I are both avid readers and        11 librarians from prosecution for certain crimes --
12 have been for years, and so we regularly looked for new       12 A Yes.
13 books, and old books as well that we might not have that      13 Q -- and that Section 2 would remove that exemption.
14 we would like to read by classic authors.                     14 Did I understand correctly that that's what you said?
15     So if books were segregated in an effort to keep them     15           MS. BROWNSTEIN: I've got to renew my
16 away from the prying eyes of children, that, again, would     16        objection to asking for her legal understanding
17 influence our ability to see those books that would not be    17        for what the effect of act -- of the act is.
18 necessarily improper for an adult to read, or have a, you     18 A Yes.
19 know, difficult subject matter, which some of these books     19 Q Okay. And I will represent to you that that is also
20 are related to difficult subject matters, and it would,       20 my understanding, that Section 2 removes that exemption.
21 depending upon how booksellers and librarians react to        21     Are you aware that that is not being challenged in
22 these statutes, affect the -- the amount of books there       22 this case?
23 are for me to read or to find.                                23 A What's not been challenged?
24 Q So you just said depending upon how the librarians          24 Q Section 2, the removal of the exemption has not been
25 and booksellers react. Are you aware of how they would        25 challenged.


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 1 A Yes.                                                        1 and materials, whatever, are not obscene, right?
 2 Q Okay. And, also, with bookstores, you mentioned that        2 A Yes.
 3 they would have to remodel. You no longer work at a           3 Q So I'm not asking for your opinion about what it
 4 bookstore, correct?                                           4 means, but you have had a chance to look over Section 1, I
 5 A Uh-huh.                                                     5 believe, today or in the past?
 6 Q Or the Books-A-Million specifically that you had            6 A Yes.
 7 mentioned?                                                    7 Q Are there any books, that you are aware of, that you
 8 A No.                                                         8 wanted to have access to, that would fall under Section 1?
 9 Q So that's just your best guess about what they would        9 A I don't know.
10 have to do?                                                  10 Q Okay. Are there any other materials you might check
11           MS. BROWNSTEIN: I object to the form of            11 out at a library that fall under Section 1?
12        the question. You can answer.                         12 A I don't know.
13 A Yes.                                                       13 Q Okay. And would any books from bookstores that you
14 Q Okay.                                                      14 might want to purchase fall under Section 1?
15 A Based upon my experience in that industry and              15 A I don't know.
16 retailing.                                                   16 Q I'm just making sure I check all the boxes. And
17 Q Have you spoken to anyone at Books-A-Million?              17 other materials you might purchase from a bookstore that
18 A I have not.                                                18 would fall under Section 1?
19 Q Okay. You also mentioned that you believe that             19 A I don't know.
20 Section 1 might inhibit your ability to access certain       20 Q So as we sit here today, you're unaware of anything
21 books, and then later on you said -- you were talking        21 that you would want to access that is regulated by Section
22 about having to remodel and move things. Are those two       22 1?
23 connected?                                                   23 A The problem is application by those in charge of
24 A Yes, they are connected. If, based on fear and             24 providing those items.
25 trying to avoid controversy, the libraries choose the        25 Q So it's not the law itself, it is just how that may


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 1 option of moving those sections to another room or even a     1 be applied?
 2 locked area, then that would impede my access to those        2 A It's both. The law exists, then people try to apply
 3 books.                                                        3 it. So if the law didn't exist, there wouldn't be a
 4     I would have to ask the librarian for access, which,      4 problem with the application.
 5 again, it -- one, I don't like having to ask the librarian    5 Q Fair enough. I'm just making sure I understand. But
 6 for access to books that are not wrong for me to look at,     6 you just told me that there's nothing you know of that you
 7 no matter what else is in there.                              7 want to access that falls under Section 1. So I'm just
 8     People's understanding, because unfortunately there's     8 confused about how the law is a problem, as opposed to the
 9 been a great deal of push in the community that somehow       9 application. I'm just trying to figure that one out.
10 these books are obscene and that they are going to cause     10 A The reason I do not know, is because if this is
11 people to harm children and I have not found that to be      11 interpreted widely, they might choose books, even classic
12 accurate, but that is the public perception.                 12 books, that are of a very mature subject matter, shall we
13 Q So you would still have access to those books,             13 say, that I might choose to want to read at some point in
14 though, if things were rearranged like you were              14 the future. You know, I don't know what I'm going to want
15 describing?                                                  15 to read next year.
16 A I hope so.                                                 16 Q And when you say "they," who do you mean?
17 Q Okay. So I'm just trying to understand that, because       17 A The purchasers of such books or the library personnel
18 at first you said it would impede your access, but now       18 who choose such books.
19 you've said you'd still have access to it?                   19 Q Okay. And I think that's all I'll ask about
20 A Technically I would have access. The difficulty of         20 Section 1. I promise I'm getting close to wrapping up.
21 that access, I do not know what it would be.                 21 A You're fine.
22 Q Okay. So it's just a guess at this point?                  22 Q I'd like to, very quickly, move on to Section 5,
23 A Yes.                                                       23 which is the section that's certain procedures that
24 Q Okay. I also want to come back to the statement you        24 libraries must adopt. Are you aware of any current
25 said that from what you've been able to tell, these books    25 requirements regarding library challenges to books that


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 1 exist?                                                        1 Q -- is there anything that --
 2 A Yes, under -- the library has a policy to allow             2 A I mean --
 3 patrons to challenge a book and that policy ends with the     3 Q -- cancel's librarian's decisions, that you're aware
 4 librarian's decision. So it is not as complicated as it       4 of?
 5 would be under this statute if the statute went into          5 A I mean, the -- again, the American Library
 6 effect.                                                       6 Association has standards for books to be placed in
 7    The statute also brings in people who are not              7 libraries, so they already have standards in general.
 8 qualified, in my opinion, to make a decision about these      8 Outside of Act 372, that's what they use.
 9 books by referring it to the city directors and the quorum    9 Q Okay. So there's no legal requirements that you're
10 court. They have limited time, and certainly for the         10 aware of?
11 quorum court, it's not in their job description in any       11 A No.
12 way, shape or form, whether they have adequate education     12 Q And then you also said you had concern with the
13 to make those decisions, and the political implications of   13 elected officials making these --
14 the pressure that could be placed upon them to not return    14 A Yes.
15 a book.                                                      15 Q -- decisions under Act 372?
16    I believe that's why the statute has been written         16 A Yes.
17 this way, because it's putting public pressure on the        17 Q Can you explain to me why you have those concerns?
18 elected officials. Otherwise there's no reason for it to     18 A Based on my attendance at the quorum court meetings,
19 be that way. It's always been a judicial question. It is     19 it has been apparent to me, in my personal opinion, that
20 a jury question whether a book is obscene or not.            20 there are some who have already decided, for whatever
21    This changes all of that and puts people who have far     21 reason, against the library. Some of them are just
22 better things to do, as far as the public's interest to      22 completely mean about the subject. They're not very
23 take care of, rather than completely reading any book that   23 professional how they handle their meetings or the
24 the person who's challenging it does not accept the          24 subject.
25 librarian's decision.                                        25     I am acquainted with two of the members that were

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 1 Q And just for clarification purposes, I assume you're        1 JPs. One of them that I know of is an education -- has a
 2 speaking about the Crawford County Library?                   2 Ph.D in education. He has been superintendent of
 3 A The Crawford County Library has a policy, yes.              3 different public schools in this area, and I believe that
 4 Q Okay. Are you aware of any other library's --               4 he would probably be qualified, based upon his education
 5 A It's my understanding --                                    5 and ability, if -- and this is a hypothetical.
 6 Q -- policy?                                                  6 Q Of course.
 7 A -- that it's part of the standards of the ALA, the          7 A Let's say five people show up and they challenge 20
 8 American Library Association, that libraries have such        8 books, the librarian says these books are fine. Because
 9 policies.                                                     9 they now have this procedure, they take all 20 of these
10 Q So if I understand you correctly, it is not -- the         10 books to the quorum court, which does not yet have a
11 problem is not that there is some challenge procedure,       11 procedure, I believe, on how to handle that because it
12 it's just the specific one laid out in this act?             12 hasn't gone into effect yet.
13 A Yes.                                                       13    But they would have to create a policy. All of the
14 Q Okay.                                                      14 JPs, to my understanding, are part time. They have other
15 A The library -- again, the library has such a policy.       15 jobs or they are retired, so within their job, reading 20
16 It has worked fine for all the years that they've had it.    16 books and providing a summary or whatever that they would
17 People may or may not be happy, but it has worked.           17 need to do, it takes time.
18 Q Okay. And are you aware of anything that limits the        18    Most people do not read quickly. In this room I
19 librarian's decision-making? Is there anything that          19 would assume most people read fairly quickly and
20 limits that decision, or can they do whatever they want?     20 comprehend what they read. That is not true of every one
21 A Well, I believe they would want to try to apply the        21 and I'm not saying it as a criticism. It's just not true.
22 statute to their decision in determining if something is     22    So they would have to have the time to read the
23 harmful.                                                     23 books. Then they would have to make their decision based
24 Q And to be clear, outside of Act 372, is there --           24 upon the statute, which they would have to interpret or
25 A No.                                                        25 have it interpreted for them and then make that decision.


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 1    There is nothing in this decision that prevents them       1        this is an assumption which may not be, in fact,
 2 from public input by phone calls, showing up at meetings,     2        true.
 3 putting pressure on anybody to not approve a particular       3 A It says on Page 9, Line 30, the decision of the
 4 book or type of book, and then they make that decision.       4 governing body of the county or city under subdivision of
 5    Again, they are two-year officials. It's possible          5 this section is final and a meeting shall be a public
 6 books would be challenged near the end of the election        6 meeting of the record submitted.
 7 cycle, so one group would start the challenges and another    7 Q Yes, ma'am. But it is my fault, I got too much into
 8 group would have to finish them.                              8 the specific text. But just assume with me that at the
 9    It's just extremely complicated when it actually           9 end of the day, all that happened to the material is it
10 comes to the idea of application and I believe it is         10 was relocated to a separate section of the library that
11 fraught with all sorts of negative possibilities that will   11 was not accessible to minors under the age of 18 years.
12 affect all public libraries in general.                      12 How would that affect you?
13 Q And I really am coming to a close here very soon, I        13 A Well, then, I would have to have access to that area
14 think.                                                       14 of the library.
15    So a lot of what we've been talking about regarding       15 Q Are you over 18 years old?
16 Section 5 has been policy implications about, oh, that's     16 A I am.
17 difficult to implement, or I don't think these people        17 Q And I don't mean that sarcastically, just for the
18 should be the ones looking at it.                            18 record.
19    How does Section 5, how would it affect you if it was     19 A Again, if it's moved to a locked area, then that
20 implemented, to your knowledge?                              20 access is restricted. It's not free and available to
21 A Books would be removed from the library or the             21 wandering up and down the aisles catching a title. If you
22 bookstores.                                                  22 have to go into a closed room and have permission to go
23 Q Are you aware that Section 5 does not require removal      23 into that closed room, that has a chilling effect upon
24 of books from the library and bookstores?                    24 people going into that room.
25 A When the challenge is done, if the challenge is            25 Q Okay. But you, specifically, would that impede you


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 1 upheld, they would be removed.                                1 from going and seeing those documents?
 2 Q I don't believe that Section 5 actually requires            2 A No.
 3 removal, but let me see here.                                 3 Q And are you aware -- has anyone told you that they
 4 A Under 2, Line 20 on Page 7, it says: "The county or         4 want to challenge a library material or item under Act
 5 municipal library shall decide if material being              5 372?
 6 challenged shall remain available throughout the challenge    6 A No.
 7 process."                                                     7 Q Okay. I really appreciate your time and candor.
 8 Q So you're saying that it would be removed during the        8 Thank you. That's all I have.
 9 challenge process?                                            9           MS. BROWNSTEIN: Let's take a break because
10 A No, I'm saying that it could be removed during the         10       I probably have a few things I'd like to clear
11 challenge process, and then after the challenge, it would    11       up.
12 be removed from the library.                                 12           MR. MCLELLAND: Okay, that's fine, and I'm
13 Q So I believe --                                            13       going to have just a few follow-ups, just like
14 A Because what would be the point of it staying? For         14       three or four questions.
15 somebody else to challenge it?                               15           MS. BROWNSTEIN: Do you want to do it know?
16 Q I believe on Page 8, this is Lines 32 through 35, we       16           MR. ADAMS: Yeah, why don't you do yours
17 don't have to necessarily get into the weeds here, which     17       now?
18 I'm afraid I might be doing, but it does say, specifically   18 BY MR. MCLELLAND:
19 at 33 and 34, that the material being challenged shall be    19 Q All right. I'll just clean up.
20 located within the library's collection to an area that is   20    Ms. Caplinger, you just spoke with Mr. Watson over
21 not accessible to minors under the age of 18.                21 here regarding Act 372; is that correct?
22     So assume with me for a moment that the material is      22 A Yes.
23 not being removed at the end of the day. Assume that that    23 Q During your testimony with him, do you remember
24 is how the law operates. How would it affect you then?       24 giving testimony that the library here in Crawford County
25           MS. BROWNSTEIN: I'm going to object that           25 currently has a challenge policy?


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 1 A Yes.                                                         1 of the perception that the books located in those areas
 2 Q Okay. Have you ever challenged a book?                       2 are not just inappropriate, but somehow pornographic or
 3 A No.                                                          3 obscene.
 4 Q Okay. You also said that right now here in Crawford          4 Q Do you think, from your experience using the library
 5 County, that the librarian's decision is final regarding a     5 and the way it is laid out, would other people using the
 6 book. What I am confused about is, is it book selection,       6 library, the patrons be able to see if you did want to
 7 book placement; what is it final about?                        7 access or look at or peruse or go into a room that was
 8 A All of those things.                                         8 separate from the rest of the library as --
 9 Q Okay. Book selection, book placement?                        9 A The library is --
10 A Yes.                                                        10            MR. MCLELLAND: I'm going to object to
11 Q Okay. If a librarian decides to place a book in an          11        form.
12 area of the library that a patron does not like, do they      12 A The library is fairly open, and so anybody who would
13 have any recourse to overturn that, or do they have any       13 be in there in that general area, would notice someone had
14 procedure by which to overturn the librarian's decision?      14 gone into that room. And currently the way it's laid out,
15 A Other than the challenge decision as it is now, no.         15 if people wanted to, they could stake out the tables and
16           MR. MCLELLAND: Okay. I think I'm good.              16 watch people come and go from that section.
17        We'll go ahead and take a break.                       17 Q And why would that concern you, that other patrons or
18          (Brief recess was taken.)                            18 other people would be able -- would know what you are
19               EXAMINATION                                     19 looking at, in terms of library materials?
20 BY MS. BROWNSTEIN:                                            20 A Because it's nobody else's business. I'm an adult
21 Q All right. Ms. Caplinger, you were asked some               21 and I can read whatever I want to read and it's the rights
22 questions, by Mr. Watson, about if under Act 372, Sections    22 of an adult to read whatever they want to read that's not,
23 1 and 5, whether if material deemed inappropriate for         23 you know, illegal, shall we say, "or interfered with by
24 minors was in a room that was not locked, how that would      24 the rights of children," quote, unquote, to not see this
25 affect you and your ability to access that material.          25 material or have access to this material that might be


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 1    So I'm going to ask that even if material that was          1 harmful, and I just don't think that's appropriate.
 2 deemed inappropriate for minors under the act were placed      2     I think parents should decide what's appropriate for
 3 in a separate room, that even if it was not locked, would      3 their child, and I don't think that that right should
 4 that affect the way you think you should be able to use        4 trump the right that I have to peruse the entire library
 5 the library as a patron?                                       5 and to choose whatever I want to read out of whatever
 6 A Yes.                                                         6 section of the library I want to.
 7           MR. WATSON: Object to form.                          7 Q What about librarians -- would you have any concern
 8           MR. WAHLMEIER: Object to form.                       8 that librarians would know if you were looking at or
 9           MR. MCLELLAND: I'm also going to make the            9 reading or picking up a book or going into that if there
10        same objection.                                        10 were a room that was not locked, but -- but -- but books
11 BY MS. BROWNSTEIN:                                            11 were placed there under the act because they were deemed
12 Q You may answer.                                             12 inappropriate to minors?
13 A Yes, because the main way that I use the library is         13 A Well, I would assume that they can see people coming
14 by walking up and down the shelves and picking something      14 and going from whatever area of the library, if they were
15 out if I don't have something in mind already. So I would     15 either in the library or from their desk, depending upon
16 have to -- if I'm looking for something and it's in the       16 where this room would be located.
17 adult section that might have been deemed harmful and has     17 Q And would that concern you?
18 been moved, I might think the library doesn't have it.        18 A Again, it's -- it's the stigma more than the idea
19    So if I then had to go and peruse that room all the        19 of -- you know, again it's -- it's not -- other than
20 time to find out the entire library's contents, that would    20 knowing that a book is checked out to whom, it's not the
21 add that extra time. It also -- again, there's a stigma       21 librarian's business what I'm reading either.
22 attached because people would see me going in and out of      22            MS. BROWNSTEIN: Okay. I don't have
23 that room.                                                    23         anything further.
24    I'm not saying that ultimately I would not go in that      24               EXAMINATION
25 room, but there is a -- would be a stigma attached because    25 BY MR. ADAMS:


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 1 Q I have a few questions. Ms. Caplinger, we -- I would         1 BY MS. PARKER:
 2 like to talk a little more about the Section 5 book            2 Q This is Rebecca Hughes Parker. I just want to ask
 3 challenge procedure and how that would work if that went       3 you, Ms. Caplinger, you testified before about the stigma
 4 into effect.                                                   4 of going into a separate room restricted to adults and
 5     So we talked about the fact that there's a stage of        5 that it might impede your ability to peruse books and I
 6 the challenge procedure under Section 5 of the act inside      6 wanted to ask if that would apply to bookstores, as well
 7 the library, and then an appeal to the local governing         7 as libraries?
 8 body.                                                          8 A Yes, it would probably apply even more because access
 9     So in this case, you know, for your library, the           9 would be more limited because of the amount of employees
10 appeals would go to the Crawford County Quorum Court. Is      10 on the floor.
11 that your understanding of how the appeals would work?        11 Q Thank you.
12 A That is my understanding.                                   12 A You're welcome.
13 Q Okay. And we talked about there's both references to        13            MR. MCLELLAND: Anybody else online need to
14 possibly removal in one place, but certainly moving           14         ask a question?
15 library materials to an area inaccessible to minors under     15            Okay. Any follow-up from you?
16 the age of 18, right?                                         16            I have some follow-up, just a few
17 A Yes.                                                        17         questions.
18 Q Okay. So if -- if one of the books, say, on the             18            MR. WATSON: So you go first.
19 current list of 200 books -- well, let's start with this:     19             FURTHER EXAMINATION
20 Are you broadly familiar with the books on the current        20 BY MR. MCLELLAND:
21 social section?                                               21 Q I just have some follow-up. Ms. Caplinger, in your
22 A Broadly.                                                    22 testimony with your attorney, Ms. Brownstein, you said
23 Q Okay. Are there any of those books, which if                23 that you select books in the library, and I'm assuming
24 challenged and moved to an area under, you know,              24 that's the Crawford County Library, by walking up and down
25 inaccessible to minors under the age of 18, that you would    25 the aisle, unless you have something in mind.


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 1 be interested in filing an appeal with the quorum court to     1     Do you remember giving that testimony?
 2 reverse that decision of the library committee under --        2 A Yes.
 3 under Section 5 to -- to move the book to an area              3 Q When you have something in mind, does that -- are
 4 inaccessible to minors under the age of 18?                    4 you -- what are you referring to when you say that, like a
 5 A Well, I might be interested, but there's no provision        5 particular book?
 6 for that in the law.                                           6 A Well, yeah, if I come to the library looking for a
 7 Q Okay. But it's something that you -- you would like          7 particular book and I know what section it would probably
 8 to be able to have a say in the case that books are            8 be in, then I would just go to that section and look for
 9 segregated under Section 5 and you would have no say?          9 it and I would probably also be perusing the shelf because
10 A Yes.                                                        10 I rarely just checkout one book.
11 Q Say that there's a book that you thought was                11 Q If you didn't know which section that particular book
12 inappropriate and should be placed in that area               12 was in, what would you do?
13 inaccessible to minors under the age of 18, does that give    13 A I would look in the card catalog.
14 you the right to --                                           14 Q Okay.
15 A Yes.                                                        15 A Which I do not like to use because it is very
16 Q -- go to the quorum court and try to get that change        16 challenging. It does not lay -- again, I love
17 made?                                                         17 old-fashioned card catalogs, you have to understand, but
18 A The library -- it does.                                     18 it doesn't -- it's harder to read, it's harder to see what
19 Q Okay. Is that part of what you think is                     19 section the books have been placed in for some reason, so
20 constitutionally wrong with Section 5 of Act 372?             20 it's not as easy to do, but that is available.
21 A Among many others.                                          21 Q So you would consult the card catalog. If that
22 Q Okay. I wanted to get -- get that point out.                22 didn't assist you in finding the book, what would you do
23           MR. ADAMS: Let me look at my notes real             23 then?
24        quick, but I think that may be all. Thank you.         24 A I might ask the librarian.
25              EXAMINATION                                      25 Q Okay. We've used the word stigma a lot in our


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 1 testimony this afternoon, both by counsel and by you.         1 A Yes.
 2 When you say the word stigma, what is your definition of      2 Q Is there any law that allows you -- I'm going to ask
 3 the word stigma?                                              3 you two questions, but first is there any law that allows
 4 A That people might look down on or ostracize somebody        4 you to appeal that decision, that you're aware of?
 5 that they know something about that they don't like.          5 A Not that I'm aware of.
 6 Q And based upon that definition, you would feel that         6 Q And I'm going to ask the inverse. Is there any law
 7 ostracization on yourself?                                    7 that prohibits an appeal of that decision, that you're
 8 A Yes.                                                        8 aware of?
 9 Q Okay. We talked -- you also talked with                     9 A Not that I'm aware of.
10 Ms. Brownstein about the library layout of this potential    10            MR. MCLELLAND: Okay. I'm good.
11 adults-only section. Do you remember that testimony?         11             FURTHER EXAMINATION
12 A Yes.                                                       12 BY MR. WATSON:
13 Q To your knowledge, has Crawford County rearranged its      13 Q Just one last question about this appeal thing. Are
14 libraries, any branch, to conform with Act 372?              14 you aware of any Crawford County library -- I understand
15 A No.                                                        15 that's not the only library system you're familiar with,
16 Q Okay. In your testimony with Mr. Adams you said that       16 which is more than I'm familiar with, at least before this
17 you would be interested in an appeal, an appeal to -- if a   17 litigation, so that's impressive. Kudos to that.
18 librarian moved a book and you challenged it or appealed     18 A I use my library.
19 it, you would be interested in an appeal.                    19 Q That's good. When I was very young I used the
20     Do you remember giving testimony about that?             20 library all the time and I have, unfortunately, gotten out
21 A Yes.                                                       21 of that habit.
22 Q When you said you were interested in an appeal, were       22     Okay. We're getting way off topic, so we'll pull it
23 you meaning an appeal to the quorum court or an appeal       23 together.
24 above the quorum court?                                      24     So if the librarian makes a decision about a book
25 A According to the statute there is no appeal above the      25 that has been challenged, are you aware of any way to


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 1 quorum court.                                                 1 reverse that decision? Are you able to challenge it,
 2 Q Okay. So when you say you'd be interested in an             2 essentially?
 3 appeal, it would be an --                                     3 A Yeah.
 4 A Yes.                                                        4           MS. BROWNSTEIN: Are you talking about the
 5 Q -- appeal to the quorum court?                              5        present?
 6     Okay. Are you aware of any -- I know you just said        6           MR. WATSON: Presently.
 7 that according to the statute -- I mean, according to Act     7 A Yes.
 8 372 --                                                        8 Q You are?
 9 A Yes.                                                        9 A Yes, that has been done.
10 Q According to Act 372, there is no process laid out in      10 Q It has been?
11 the act by which you could appeal a determination by the     11 A I have seen it done.
12 Crawford County Quorum Court.                                12 Q Have you done it?
13     Is that your understanding?                              13 A No, I did not.
14 A That is my understanding.                                  14 Q Okay. What was the outcome of that?
15 Q Are you aware of any law that would prohibit -- are        15 A Those books were returned to the library shelf.
16 you aware of any law that would prohibit an appeal of        16 Q Okay.
17 Crawford County's decision that was made under Act 372?      17 A The shelf that they should have been on in the first
18 A As far as I know there is no statute. I don't              18 place. They had been moved to the social section and they
19 believe there's any case law yet, either, because the        19 were returned to the juvenile section.
20 statute has been enjoined and that opportunity has not yet   20 Q So in that situation, they never left the collection,
21 been made available.                                         21 it was just the placement?
22 Q You also said that the library -- right now the            22 A Yes.
23 library's movement of books is subject to a final            23 Q Okay. Do you recall what books those were?
24 determination by the librarian.                              24 A One was them was about a llama, and the other one was
25     Do you remember giving testimony to that effect?         25 about families, I believe my family, your family,


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 1 something like that. They were both children's picture         1 A Yes.
 2 books.                                                         2 Q How is that different than someone seeing you look at
 3 Q Do you recall why those were initially challenged and        3 this, you know, potential new section that is restricted?
 4 moved to the social section?                                   4 A Because of the publicity about that section.
 5 A It's my understanding --                                     5 Q Okay.
 6           MR. MCLELLAND: Object to form, but go                6 A The negative publicity about that section, because
 7        ahead.                                                  7 there have been efforts made to create negative publicity
 8 A It's my understanding that the one about the llama           8 about that section, and that's.
 9 was removed because it was perceived to have LGBTQ             9    Why. I mean, nobody has complained about the
10 content. The other book, my family, our family, was moved     10 historical fiction section.
11 for the same reason because it had pictures, and these        11 Q Fair. And, also, I believe that -- I just want to
12 were illustration pictures of a family with two men and a     12 make sure I heard you correctly. You said that you
13 family with two women.                                        13 weren't saying you ultimately wouldn't go into any such
14 Q You said those were ultimately moved back to the            14 section that existed?
15 children's section?                                           15 A I still might do that, but I would have to make a
16 A Yes.                                                        16 decision about it. It would not just be as automatic as I
17 Q Was the librarian -- what was the librarian's               17 walk in and wander around the library like I normally do.
18 determination? Why did the librarian return those to          18 You know, I might want to look and see if anybody was
19 the --                                                        19 watching the door. That's silly and it's embarrassing as
20 A Actually, it was the library board that returned            20 an adult to even have to think that.
21 them, not the librarian.                                      21 Q Okay. Mr. Adams also asked you a question about if
22 Q Okay.                                                       22 certain -- kind of a hypothetical about if the act went
23 A So they had been removed by the librarian, and then         23 into effect, and what if some of the social section books
24 it was challenged to the library board and the library        24 were ultimately put into this restricted area that we've
25 board voted to return them, and that's in the minutes of      25 been talking about. Earlier you testified that you were


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 1 one of these meetings.                                         1 not aware of any challenges that someone would make, but
 2 Q Okay. Just a couple of quick questions about your            2 let's assume that there was one.
 3 access to the books that we've kind of danced around here      3     Are you aware, beforehand, of any of these social
 4 several times. You mentioned that are there currently          4 section books, how the librarian's committee under the act
 5 sections in the library that house certain types of books.     5 would make a determination?
 6 I assume fantasy here, historical fiction there, you know,     6 A No.
 7 nonfiction there, whatever.                                    7 Q Okay. And are you aware how the elected officials
 8     Could anyone see you walk to those sections                8 would ultimately make a determination on any specific
 9 currently?                                                     9 book?
10 A Yes.                                                        10 A No.
11 Q Okay. And when you select a book and you -- can             11            MR. WATSON: Okay. That's all I've got.
12 people see that? Do you hide the covers or could people       12            MR. MCLELLAND: I've just got one follow-up
13 see what books you're carrying?                               13         before we switch over y'all, if that's okay.
14 A I assume if they're interested people can see what          14            MS. BROWNSTEIN: I don't have anything.
15 I'm carrying.                                                 15            MR. ADAMS: Go ahead.
16 Q And when you check those books out, are librarians          16            MR. MCLELLAND: Okay.
17 able to see what titles you've checked out?                   17            FURTHER EXAMINATION
18 A Most of the time I use the self-checkout, so other          18 BY MR. MCLELLAND:
19 than referring to the list for books that need to be          19 Q You just gave testimony, Ms. Caplinger, to Mr. Watson
20 returned, they wouldn't know.                                 20 regarding some books in the social section, one about a
21 Q Okay. And to your knowledge, are the librarians able        21 llama and one about my family, your family.
22 to look at the system to see who's checked out what before    22     Do you remember that testimony?
23 the --                                                        23 A Yes.
24 A Yes.                                                        24 Q I just want to clean that up for the record, make
25 Q -- returns have come due?                                   25 sure I understand you.


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 1 A Okay.
 2 Q I understood your testimony to be this, and correct
 3 me if I'm wrong: That those two books, the llama book and
 4 the my family, your family book were moved into the social
 5 section by Ms. Grzymala; is that right?
 6 A That's my understanding.
 7 Q Then somebody in the community challenged that --
 8 that placement. They challenged the placement of those
 9 books under the current policy; is that right?
10 A Yes.
11 Q And then the Library Board of Crawford County
12 ultimately decided to move those books, to move them out
13 of the social section and back into the children's
14 section?
15 A Yes.
16 Q Okay. That's all I've got on that. That's it.
17 Thank you.
18 A Thank you.
19         (WHEREUPON, at 2:49 p.m., the
20          above deposition concluded.)
21
22
23
24
25

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 1                    C E R T I F I C A T E
 2
     STATE OF ARKANSAS }
 3                     }
     COUNTY OF FAULKNER}
 4
     RE:   ORAL DEPOSITION OF LETA JO CAPLINGER, ESQ.
 5
     I, Michelle R. Satterfield, CCR, a Notary Public in and
 6   for Faulkner County, Arkansas, do hereby certify that the
     transcript of the foregoing deposition accurately reflects
 7   the testimony given; and that the foregoing was
     transcribed by me, or under my supervision, on my Eclipse
 8   computerized transcription system from my machine
     shorthand notes taken at the time and place set out on the
 9   caption hereto, the witness having been duly cautioned and
     sworn, or affirmed, to tell the truth, the whole truth and
10   nothing but the truth.
     I FURTHER CERTIFY that I am neither counsel for, related
11   to, nor employed by any of the parties to the action in
     which this proceeding was taken; and, further that I am
12   not a relative or employee of any attorney or counsel
     employed by the parties hereto, nor financially
13   interested, or otherwise, in the outcome of this action.
     In accordance with the Arkansas Rules of Civil Procedure,
14   Rule 30(e), review of the foregoing transcript by the
     witness was not requested by the deponent or any party
15   thereto.
     GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 27th
16   day of December 2023.
17
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                              _________________________________
21                              Michelle R. Satterfield, CCR
                                LS Certificate No. 570
22                              Notary Public in and for
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